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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

 

Fill in this information to identify your case:

 

 

Debtor 1 Dorothy Sharrell Champion
First Name Middle Name Last Name
[] Check if this is an amended plan.
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

Case Number \Q = \oAds

(If known)

 

 

CHAPTER 13 PLAN AND MOTION
[Pursuant to Fed. R. Bankr. P. 3015.1, the Southern District of Georgia General Order 2017-3 adopts this form in lieu of the Official Form 113].

1. Notices. Debtor(s) must check one box on each line to state whether or not the plan includes each of the following items.
If an item is checked as not being contained in the plan or if neither or both boxes are checked, the provision will be

ineffective if set out in the plan.

(a) This plan: contains nonstandard provisions. See paragraph 15 below.
LC) does not contain nonstandard provisions.

(b) This plan: values the claim(s) that secures collateral. See paragraph 4(f) below.
CI does not value claim(s) that secures collateral.

(c) This plan: seeks to avoid a lien or security interest. See paragraph 8 below.
C] does not seek to avoid a lien or security interest.

2. Plan Payments.
(a) The Debtor(s) shall pay to the Chapter 13 Trustee (the “Trustee’”’) the sum of $_600.00 per month for the applicable
commitment period of:
C 60 months; or (If applicable include the following: These plan
payments willchangeto$_————s monthly on
a minimum of 36 months. See 11 U.S.C. § 1325(b)(4). ,20__.)

(b) The payments under paragraph 2(a) shall be paid:

Pursuant to a Notice to Commence Wage Withholding, the Debtor(s) request(s) that the Trustee serve such Notice(s)
upon the Debtor’s(s’) employer(s) as soon as practicable after the filing of this plan. Such Notice(s) shall direct the
Debtor’s(s’) employer(s) to withhold and remit to the Trustee a dollar amount that corresponds to the following
percentages of the monthly plan payment:

Debtor1 100% (JDebtor2 %

LC Direct to the Trustee for the following reason(s):
LC The Debtor(s) receive(s) income solely from self-employment, Social Security, government assistance, or

retirement.
LJ The Debtor(s) assert(s) that wage withholding is not feasible for the following reason(s):

(c) Additional Payments of $ ____ (estimated amount) will be made on (anticipated date)

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from ___ (source, including income tax refunds).

3. Long-Term Debt Payments.

(a) Maintenance of Current Installment Payments. The Debtor(s) will make monthly payments in the manner specified as
follows on the following long-term debts pursuant to 11 U.S.C. § 1322(b)(5). These postpetition payments will be disbursed
by either the Trustee or directly by the Debtor(s), as specified below. Postpetition payments are to be applied to postpetition
amounts owed for principal, interest, authorized postpetition late charges and escrow, if applicable. Conduit payments that
are to be made by the Trustee which become due after the filing of the petition but before the month of the first payment
designated here will be added to the prepetition arrearage claim.

PAYMENTS TO BE MONTH OF FIRST

PRINCIPAL MADEBY POSTPETITION INITIAL
RESIDENCE (TRUSTEE OR PAYMENT TO MONTHLY
CREDITOR COLLATERAL (Y/N) DEBTOR(S)) CREDITOR PAYMENT

(b) Cure of Arrearage on Long-Term Debt. Pursuant to 11 U.S.C. § 1322(b)(5), prepetition arrearage claims will be paid in
full through disbursements by the Trustee, with interest (if any) at the rate stated below. Prepetition arrearage payments are
to be applied to prepetition amounts owed as evidenced by the allowed claim.

 

DESCRIPTION OF PRINCIPAL ESTIMATED AMOUNT INTEREST RATE ON
CREDITOR COLLATERAL RESIDENCE (Y/N) OF ARREARAGE ARREARAGE (if applicable)
4, Treatment of Claims. From the payments received, the Trustee shall make disbursements as follows unless designated

otherwise:

(a) Trustee’s Fees. The Trustee percentage fee as set by the United States Trustee.
(b) Attorney’s Fees. Attorney’s fees allowed pursuant to 11 U.S.C. § 507(a)(2) of $3,000.00 .

(c) Priority Claims. Other 11 U.S.C. § 507 claims, unless provided for otherwise in the plan will be paid in full over the life of
the plan as funds become available in the order specified by law.

(d) Fully Secured Allowed Claims. All allowed claims that are fully secured shall be paid through the plan as set forth below.

CREDITOR DESCRIPTION OF COLLATERAL ESTIMATED CLAIM = INTEREST RATE MONTHLY PAYMENT

(e) Secured Claims Excluded from 11 U.S.C. § 506 (those claims subject to the hanging paragraph of 11 U.S.C. §
1325(a)). The claims listed below were either: (1) incurred within 910 days before the petition date and secured by a

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purchase money security interest in a motor vehicle acquired for the personal use of the Debtor(s), or (2) incurred within 1
year of the petition date and secured by a purchase money security interest in any other thing of value. These claims will
be paid in full under the plan with interest at the rate stated below:

 

 

CREDITOR DESCRIPTION OF COLLATERAL ESTIMATED CLAIM INTEREST RATE MONTHLY PAYMENT
U.S. Auto Finance Kia Motor Vehicle $20,986.00 6% Min. of $350.00
Kornerstone Credit, LLC Personal Property $2,724.00 2% Min. of $48.00
NPRTO Georgia, LLC dba Personal Property $2,301.00 2% Min. of $40.00
Progressive

(f) Valuation of Secured Claims to Which 11 U.S.C. § 506 is Applicable. The Debtor(s) move(s) to value the claims partially
secured by collateral pursuant to 11 U.S.C. § 506 and provide payment in satisfaction of those claims as set forth below. The
unsecured portion of any bifurcated claims set forth below will be paid pursuant to paragraph 4(h) below. The plan shall be
served on all affected creditors in compliance with Fed. R. Bankr. P. 3012(b), and the Debtor(s) shall attach a certificate of

 

 

service.
VALUATION OF
CREDITOR DESCRIPTION OF COLLATERAL SECURED CLAIM INTEREST RATE MONTHLY PAYMENT
Delta Finance Company Personal Property $-0- 0% $-0-
Empire Loan Personal Property $-0- 0% $-0-
MoneyLion of Georgia LLC Personal Property $-0- 0% $-0-
Sunset Finance Co.,(SC) LLC Personal Property $-0- 0% $-0-
W. S. Badcock Corporation Personal Property $-0- 0% $-0-

(g) Special Treatment of Unsecured Claims. The following unsecured allowed claims are classified to be paid at 100%
[] with interest at — % per annum or LC) without interest:

 

(h) General Unsecured Claims. Allowed general unsecured claims, including the unsecured portion of any bifurcated claims
provided for in paragraph 4(f) or paragraph 9 of this plan, will be paid a _0 % dividend or a pro rata share of
$.0 , whichever is greater.

5. Executory Contracts.

(a) Maintenance of Current Installment Payments or Rejection of Executory Contract(s) and/or Unexpired Lease(s).

 

DESCRIPTION OF PROPERTY/SER VICES ASSUMED/ MONTHLY DISBURSED BY TRUSTEE
CREDITOR AND CONTRACT REJECTED PAYMENT OR DEBTOR(S)
Royal American Management, _ Residential Lease Assumed $642.00 Debtor

Inc.

(b) Treatment of Arrearages. Prepetition arrearage claims will be paid in full through disbursements by the Trustee.

CREDITOR ESTIMATED ARREARAGE

Royal American Management, Inc. $-0-

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6. Adequate Protection Payments. The Debtor(s) will make pre-confirmation lease and adequate protection payments pursuant
to 11 U.S.C. § 1326(a)(1) on allowed claims of the following creditors: 1 Direct to the Creditor; or Wo the Trustee.

 

CREDITOR ADEQUATE PROTECTION OR LEASE PAYMENT AMOUNT
U.S. Auto Finance $200.00
7. Domestic Support Obligations. The Debtor(s) will pay all postpetition domestic support obligations direct to the holder of

such claim identified here. See 11 U.S.C. § 101(14A). The Trustee will provide the statutory notice of 11 U.S.C. § 1302(d) to
the following claimant(s):

CLAIMANT ADDRESS

8. Lien Avoidance. Pursuant to 11 U.S.C. § 522(f), the Debtor(s) move(s) to avoid the lien(s) or security interest(s) of the following
creditor(s), upon confirmation but subject to 11 U.S.C. § 349, with respect to the property described below. The plan shall be
served on all affected creditor(s) in compliance with Fed. R. Bankr. P. 4003(d), and the Debtor(s) shall attach a certificate of

service.
CREDITOR LIEN IDENTIFICATION (if known) PROPERTY
Delta Finance Company Household Goods
Empire Loan Household Goods
MoneyLion of Georgia, LLC Household Goods
Sunset Finance Co., (SC) LLC Household Goods
9. Surrender of Collateral. The following collateral is surrendered to the creditor to satisfy the secured claim to the extent shown

below upon confirmation of the plan. The Debtor(s) request(s) that upon confirmation of this plan the stay under 11 U.S.C. §
362(a) be terminated as to the collateral only and that the stay under 11 U.S.C. § 1301 be terminated in all respects. Any allowed
deficiency balance resulting from a creditor’s disposition of the collateral will be treated as an unsecured claim in paragraph
4(h) of this plan if the creditor amends its previously-filed, timely claim within 180 days from entry of the order confirming this
plan or by such additional time as the creditor may be granted upon motion filed within that 180-day period.

CREDITOR DESCRIPTION OF COLLATERAL AMOUNT OF CLAIM SATISFIED

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10.

11.

12.

13.

14.

15.

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Retention of Liens. Holders of allowed secured claims shall retain the liens securing said claims to the full extent provided by
11 U.S.C § 1325(a)(5).

Amounts of Claims and Claim Objections. The amount, and secured or unsecured status, of claims disclosed in this plan are
based upon the best estimate and belief of the Debtor(s). Anallowed proof of claim will supersede those estimated claims. In
accordance with the Bankruptcy Code and Federal Rules of Bankruptcy Procedure, objections to claims may be filed before or
after confirmation.

Payment Increases. The Debtor(s) will increase payments in the amount necessary to fund allowed claims as this plan proposes,
after notice from the Trustee and a hearing if necessary, unless a plan modification is approved.

Federal Rule of Bankruptcy Procedure 3002.1. The Trustee shall not pay any fees, expenses, or charges disclosed by a
creditor pursuant to Fed. R. Bankr. P. 3002.1(c) unless the Debtor’s(s’) plan is modified after the filing of the notice to provide
for payment of such fees, expenses, or charges.

Service of Plan. Pursuant to Fed. R. Bankr. P. 3015(d) and General Order 2017-3, the Debtor(s) shall serve the Chapter 13 plan
on the Trustee and all creditors when the plan is filed with the court, and file a certificate of service accordingly. If the Debtor(s)
seek(s) to limit the amount of a secured claim based on valuation of collateral (paragraph 4(f) above), seek(s) to avoid a security
interest or lien (paragraph 8 above), or seek(s) to initiate a contested matter, the Debtor(s) must serve the plan on the affected
creditors pursuant to Fed. R. Bankr. P. 7004. See Fed. R. Bankr. P. 3012(b), 4003(d), and 9014.

Nonstandard Provisions. Under Fed. R. Bankr. P. 3015(c), nonstandard provisions must be set forth below. A nonstandard
provision is a provision not otherwise in this local plan form or deviating from it. Nonstandard provisions set out elsewhere in
this plan are void.

a) UPON GRANT OF DISCHARGE IN THIS CASE, ALL SECURED CREDITORS BEING PAID
THROUGH THE PLAN SHALL PROMPTLY RELEASE ALL COLLATERAL HELD AS SECURITY ON
LOANS, AND SHALL PROMPTLY RELEASE AND/OR SATISFY ALL SECURITY DEEDS, SECURITY
AGREEMENTS, UCC FILINGS, JUDGMENT LIENS, TITLES, AND/OR ANY OTHER LIEN CLAIM OF
ANY KIND AGAINST PROPERTY OF THE DEBTOR. THIS PARAGRAPH SHALL IN NO WAY APPLY
TO MORTGAGES AND/OR OTHER SECURED DEBTS THAT ARE NOT PAID THROUGH THE
CHAPTER 13 PLAN.

b) CHRYSLER CAPITAL PAID DIRECT BY CO-DEBTOR, KENYATTA D. CHAMPION,ON NOTE
SECURED BY MOTOR VEHICLE.

By signing below, I certify the foregoing plan contains no nonstandard provisions other than those set out in paragraph 15.

Dated: 2-as -(7

Debtor 1

 

Debtor 2

Ae: Lo

Attorney for the Debtor(s)

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CERTIFICATE OF SERVICE

I hereby certify that I have served a copy of the within and foregoing CHAPTER 13 PLAN AND

MOTION upon the following parties via CM/ECF electronic mail:

Huon Le
[VIA ECF]

Office of the U. S. Trustee
[VIA ECF]

I hereby certify that I have served a copy of the within and foregoing CHAPTER 13 PLAN AND
MOTION by First Class Mail, placing same in the United States Mail with proper postage affixed thereon,

to the following addresses:

SEE ATTACHED EXHIBIT “A”

I hereby certify that I have served a copy of the within and foregoing CHAPTER 13 PLAN AND
MOTION on the following corporations, addressed to an Agent or Officer, by First Class Mail, placing same

in the United States Mail with proper postage affixed thereon, to the following addresses:

Delta Finance Company
Attn: Officer or Agent
1944 Walton Way, Suite H
Augusta, GA 30904-6711
(as shown on Exhibit “A”’)

Empire Loan
Attn: Officer or Agent
1944 Walton Way, Suite J
Augusta, GA 30904-6711
(as shown on Exhibit “A”’)

Empire Loan
Attn: Officer or Agent
903 Greene Street
Augusta, GA 30901-2231
(as shown on Exhibit “A”)
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MoneyLion of Georgia LLC
Attn: Officer or Agent
30 W. 21" Street, Floor 9
New York, NY 10010-6957
(as shown on Exhibit “A”)

MoneyLion of Georgia LLC
Attn: Officer or Agent
P.O. Box 1547
Sandy, UT 84091-1547
(as shown on Exhibit “A”)

MoneyLion of Georgia LLC, Attn: National
Registered Agents, Inc, Registered Agent
289 S. Culver Street
Lawrenceville, GA 30046-4805
(as shown on Exhibit “A”)

Sunset Finance Co., (SC) LLC
Attn: Officer or Agent
134 Railroad Street
Thomson, GA 30824-2733
(as shown on Exhibit “A”)

Sunset Finance Co., (SC) LLC
Attn: Officer or Agent
510 Mountain View Drive, Suite 500
Seneca, SC 29672-2145
(as shown on Exhibit “A”)

Sunset Finance Co., (SC) LLC
Attn: Bobby Knight, Jr, Registered Agent
6263 Highway 278 NW
Covington, GA 30014
(as shown on Exhibit “A”)

W. S. Badcock Corporation
Attn: Officer or Agent
P.O. Box 724
Mulberry, FL 33860-0724
(as shown on Exhibit “A’)

W. S. Badcock Corporation, Attn: C T
Corporation System, Registered Agent
289 S. Culver Street
Lawrenceville, GA 30046-4805
(as shown on Exhibit “A”’)

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I hereby certify that I have served a copy of the within and foregoing CHAPTER 13 PLAN MOTION
on the following insured depository institutions, addressed to an Officer of the institution, by Certified Mail

with proper postage affixed thereon, to the following addresses:

N/A

This 26" day of July, 2019.

AM be

Charles W. Wills
Attomey for Debtor

 

Wills Law Firm, LLC
P.O. Box 1620
Thomson, GA 30824
706-595-8100
_ Case:19-10945-SDB
Label Matrix for local noticing

1130-1

Case 19-10945-SDB

Southern District of Georgia
Augusta

Fri Jul 26 11:59:27 EDT 2019

AT&T BANKRUPTCY CENTER
P.O. BOX 769
ARLINGTON TX 76004-0769

CAPITAL ONE BANK (USA), N.A.
P.O. BOX 71083
CHARLOTTE NC 28272-1083

COMMONWEALTH FINANCIAL SYSTEMS
245 MAIN STREET
DICKSON CITY PA 18519-1641

Dorothy Sharrell Champion
500 Mendel Avenue
Apartment 313

Thomson, GA 30824-1685

DENTAL ASSOCIATES OF GROVETOWN
9596 BENTLEY DRIVE
GROVETOWN GA 30813-0279

EMPIRE LOAN

ATTN: OFFICER OR AGENT
1944 WALTON WAY, SUITE J
AUGUSTA GA 30904-6711

ER SOLUTIONS
P.O. BOX 9004
RENTON WA 98057-9004

FIRST NATIONAL CREDIT CARD
500 E. 60TH STREET N.
SIOUX FALLS SD 57104-0478

HICKORY HILL EMERGENCY PHYSICIANS, LLC
1A BURTON HILLS BLVD
NASHVILLE TN 37215-6187

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AFNI, INC

1310 MARTIN LUTHER KING DRIVE
P.O. BOX 3517
BLOOMINGTON IL 61702-3517

BELLSOUTH TELECOMMUNICATIONS, INC.
AT&T SERVICES, INC.

ONE AT&T WAY, ROOM 3A104
BEDMINSTER NJ 07921-2694

CHRYSLER CAPITAL

ATTN: BANKRUPTCY DEPT
P.O. BOX 961278

FORT WORTH TX 76161-0278

CONSOLIDATED CREDIT SOLUTIONS
5701 WEST SUNRISE BLVD
FORT LAUDERDALE FL 33313-6269

 

DIVERSIFIED CONSULTANTS, INC.
10550 DEERWOOD PARK BLVD
SUITE 309

JACKSONVILLE FL 32256-2805

EMPIRE LOAN

ATIN: OFFICER OR AGENT
903 GREENE STREET
AUGUSTA GA 30901-2231

FBCS, INC.
330 S. WARMINSTER ROAD
SUITE 353
HATBORO PA 19040-3433

(p)FIRST SAVINGS BANK
PO BOX 5096
SIOUX FALLS SD 57117-5096

(p) JEFFERSON CAPITAL SYSTEMS LLC
PO BOX 7999
SAINT CLOUD MN 56302-7999

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ASHLEY STEWART/COMENITY BANK
P.O. BOX 182789

COLUMBUS OH 43218-2789

BROWN & RADIOLOGY ASSOCIATES
P.O. BOX 3845
AUGUSTA GA 30914-3845

COMENITY BANK
BANKRUPTCY DEPARTMENT
P.O. BOX 182125
COLUMBUS OH 43218-2125

CREDIT ONE BANK
P.O. BOX 98873
LAS VEGAS NV 89193-8873

DELTA FINANCE COMPANY
ATTN: OFFICER OR AGENT
1944 WALTON WAY, SUITE H
AUGUSTA GA 30904-6711

DIVERSIFIED CONSULTANTS, INC.
P. 0. BOX 551268
JACKSONVILLE FL 32255-1268

ENHANCED RECOVERY COMPANY
P.0. BOX 57547
JACKSONVILLE FL 32241-7547

FINGERHUT/WEBBANK
6250 RIDGEWOOD RD.
SAINT CLOUD MN 56303-0820

GLOBAL CREDIT

5440 N. CUMBERLAND AVENUE
SUITE 300

CHICAGO IL 60656-1486

KENYATTA D. CHAMPION
116 WHITE OAK EXT.
APARTMENT 53

THOMSON GA 30824

LIGIHX3
Case:19-10945-SDB
KORNERSTONE CREDIT, LLC
1111 DRAPER PARKWAY
SUITE 200
DRAPER UT 84020-9058

Hu e
P.O. Box 2127
Augusta; GA 30903-2127

Luca cml ece\

MONEYLION OF GEORGIA LLC
ATTN: OFFICER OR AGENT
P.O. BOX 1547

SANDY UT 84091-1547

Offic&of fhe U. S. Trustee
Johnson*{@uare Business Center
2 East Byan Street, Ste 725
Savannah, GA 31401-2638

(viacm Ect |

SECOND ROUND, LP
4150 FREIDRICH LANE
SUITE I

AUSTIN TX 78744-1052

SUNSET FINANCE CO., (SC) LLC

ATTN: BOBBY KNIGHT, JR, REGISTERED AGENT
6263 HIGHWAY 278 NW

COVINGTON GA 30014

TATE KIRLIN
2810 SOUTH HAMPTON ROAD
PHILADELPHIA PA 19154-1207

U.S. AUTO FINANCE
2875 UNIVERSITY PKWY
LAWRENCEVILLE GA 30043-6752

U.S. DEPARTMENT OF EDUCATION
C/O NELNET

P.O. BOX 82561

LINCOLN NE 68501-2561

VICTORIA'S SECRET/COMENITY BANK
P.O. BOX 182789
COLUMBUS OH 43218-2789

LANIER COLLECTION AGENCY
P.O. BOX 15519
SAVANNAH GA 31416-2219

MERRICK BANK
P.O. BOX 9201
OLD BETHPAGE NY 11804-9001

MONEYLION OF GEORGIA LLC, ATTN: NATIONAL
REGISTERED AGENTS, INC, REGISTERED AGENT
289 S. CULVER STREET

LAWRENCEVILLE GA 30046-4805

(p) PENTAGON FEDERAL CREDIT UNION
ATTN BANKRUPTCY DEPARTMENT

P 0 BOX 1432

ALEXANDRIA VA 22313-1432

SUNSET FINANCE CO., (SC) LLC
ATTN: OFFICER OR AGENT

134 RAILROAD STREET

THOMSON GA 30824-2733

SW CREDIT SYSTEMS, LP
4120 INTEERNATIONAL PKWY
SUITE 1100

CARROLLTON TX 75007-1958

TRANSWORLD SYSTEMS, INC.
405 PRUDENTIAL ROAD
HORSHAM PA 19044

U.S. AUTO FINANCE
6225 SMITH AVENUE
BALTIMORE MD 21209-3626

(p) UNIVERSITY HEALTH SERVICES INC
ATTN COLLECTIONS DIVISION

620 THIRTEENTH ST

AUGUSTA GA 30901-1008

W. S$. BADCOCK CORPORATION
ATIN: OFFICER OR AGENT
P.O. BOX 724

MULBERRY FL 33860-0724

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LVNV FUNDING, LLC

C/O RESURGENT CAPITAL SERVICES
P.O. BOX 1269

GREENVILLE SC 29602-1269

MONEYLION OF GEORGIA LLC
ATTN: OFFICER OR AGENT

30 W. 21ST STREET, FLOOR 9
NEW YORK NY 10010-6957

NPRTO GEORGIA, LLC
DBA PROGRESSIVE

256 WEST DATA DRIVE
DRAPER UT 84020-2315

ROYAL AMERICAN MANAGEMENT, INC.
125 TOWNPARK DRIVE, SUITE 300
KENNESAW GA 30144-3231

SUNSET FINANCE CO., (SC) LLC

ATIN: OFFICER OR AGENT

510 MOUNTAIN VIEW DRIVE, SUITE 500
SENECA SC 29672-2145

SYNCHRONY BANK

ATTN: BANKRUPTCY DEPARTMENT
P.O. BOX 965060

ORLANDO FL 32896-5060

TRANSWORLD SYSTEMS, INC.
P.O. BOX 17221
WILMINGTON DE 19850-7221

U.S. DEPARTMENT OF EDUCATION
400 MARYLAND AVENUE SW
WASHINGTON DC 20202-0008

VERIZON WIRELESS
3 VERIZON PL
ALPHARETTA GA 30004-8510

W. $. BADCOCK CORPORATION, ATIN: C T
CORPORATION SYSTEM, REGISTERED AGENT
289 S. CULVER STREET

LAWRENCEVILLE GA 30046-4805
Case:19-10945-SDB Doc#:6_ Filed:97/26/19 Entered:07/26/19 14:47:51 Page:11 of 11
WAL-MART /SYNCB
P.O. BOX 965024
ORLANDO FL 32896-5024

 

Thomfon, GA 30824-2901

The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g) (4).

FIRST SAVINGS BANK/BLAZE CREDIT CARD (d) FIRST SAVINGS BANK/BLAZE CREDIT CARD (d)FIRST SAVINGS CREDIT CARD

500 E. 60TH STREET P.O. BOX 5065 500 E. 60TH STREET N.

SIOUX FALLS SD 57104 SIOUX FALLS SD 57117 SIOUX FALLS SD 57104

JEFFERSON CAPITAL SYSTEMS, LLC PENTAGON FEDERAL CREDIT UNION (d) PENTAGON FEDERAL CREDIT UNION
P.O. BOX 7999 P.O. BOX 1432 P.O. BOX 247009

SAINT CLOUD MN 56302-9617 ALEXANDRIA VA 22313 OMAHA NE 68124

UNIVERSITY HEALTH SERVICES
620 13TH STREET
AUGUSTA GA 30901

The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.

(d) Dorothy Sharrell Champion End of Label Matrix
500 Mendel Avenue Mailable recipients 61
Apartment 313 Bypassed recipients 1

Thomson GA 30824-1685 Total 62
